Case 2:05-cr-20318-.]TF Document 12 Filed 08/31/05 Page 1 of 2 Page|D 12

IN THE UNITED sTATEs DISTRICT coURT -FIIED BY ~»-» °~c“

FoR THE WESTERN DISTRICT oF TENNESSEE 3 38
WESTERN DIVIsIoN USAUG 31 PH

 

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UNITED sTATEs 0F AMERICA ma ¢-;- -. …31»,5

V.

MAURICE NASH 05cr20318-D

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on 03' 31 ~05 the United States Attomey
for this district appeared on behalf ofthe government, and the defendant appeared in person and with
counsel:

NAME rod Fe/m»ga fm pda/o }ld€§' who isRetained/Appoimed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

Ail motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

_The defendant, who ls not in Custody, may stand on his present bond.

:\/The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. ‘___
§ - /Mm\ad W»_

UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18:922(3)
firearms

Attorney assigned to Case: ]. Murphy

Thls document entered on the docket sh
wlth Rule 55 and/or 32(b) FRCrP on

Age: 32-

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number l2 in
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September 7, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

